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                                                                                                           N" 11527·03


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  MINISTERE
 DE lAJUSTICE




                                         Attestation de temoin
                       (Articles 200 a203 du code de procedure civile. article 441-7 du code penal)




'Ji( Madame                          D Monsieur
Votre nom de famille (nom de naissance) : --=~.,._,.,,./J/W1/J"-S-L-_, __,__1=]) -,-<-. .__ ____________
Votre nom d'usage (exemple: nom d'epoux I d'epouse): _ _ _ _ _ _ _ _ _ _ _ _ __
Vos prenoms: _2'e,,A1_,,_,/l,.,_,.fA,,.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Vos date et lieu de naissance: 1J_1.JU_1..Uld1.0__1Q1Ji
a Eah&14ii.1.91M1 1 !'1e1J 1 - ~ - . - ,-+-,L,___JS,,,,_-A_,____ _--,-._ _ _ _ _ _ __
Votre profes~n:             ,YQ{QP FJiE-11.J'--'!...,,,.).:..:.d~A,_...,_._,HJ:,,..U11a.L,µdt&....,,.
                                                                                            ·~d.:;._.- - - - - - - - -

Votre adresse:          cJ 3JO [         (J,aii?.JJ .{)JJ.,;i.1
Complement d'adresse: ____:_/4..>.;;(d'-l,.Z--J,,.,_,._A'--'-'-'IQ...,,.__ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Code postal 1S..1_J1..Q..1...:Z.1..0.I    Commune: -~~~?:\4......,,...!Y!IW~=·...,_\-,.,..,._J......
                                                                                                '/_ _ _ _ _ _ _ _ __
Pays :        (   i1.1AJuO ,,G
                            !±ai~~ ~ !t:1 Vl1Vth[/).
                                 ~ 7)                                     J




Lien de parente. d'alliance. de subordination, de collaboration ou de communaute d'interets avec
Les parties : Ou~            non D
Si oui. precisez Lequel: ____,A__._._,.,,_!~{Jn""""""'.,,,_,j....,,h-\,~--------------------


Sachant que l'attestation sera utilisee en justice et connaissance prise des dispositions de l'article
441-7 du code penal reprimant l'etablissement d'attestation faisant etat de faits materiellement
inexacts ci-apres rappeles :
« Est puni d'un an d'emprisonnement et de 15000 euros d'amende le fait d'etablir une
attestation ou un certificat faisant etat de faits materiellement inexacts >>.
(cette phrase doit etre ecrite. ci-dessous. entierement de votre main} :
                                                                               ' 15CX)O




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lndiquez ci-dessous Jes faits auxquels vous avez assiste ou que vou? avez constates
personnellement :




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lndiquez ci-dessous les faits auxquels vous avez assiste ou que vou~ avez constates
personnellement :
           I




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lndiquez ci-dessous les faits auxquels vous avez assiste ou que vou.s avez constates
personnellement :




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•Unoriginal ou une photocopie d'un document officiel justifiant de votre identite et
comportant votre signature.


ATTESTATION SUR L'HONNEUR                          /}/                \
Je soussigne(e) (prenom. nom) : _ ___,J\Jc......u:.e.,,;;,i,__,h_._6....,,A._...,i.)~U,_,,_Af~lMVY/1)\'--'--"''-=---'------------'--
certifie sur l'honneur que Les renseignements portes sur ce formulaire sont exacts.

Fait a:     j ,JN\,(},/W{A.t      I
                                      \ "')   Y                   Le 10_1_]1Q1.:t.1l1QQ.1"31

Signature .




                La loi n·7s-17 du 6 janvler 1978 relative aux fichiers nominatifs garantit un droit d'acces et
                   de rectification des donnees aupres des organismes destinataires de ce formulaire.


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